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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Helen Allen
                                Plaintiff,
v.                                                   Case No.: 1:21−cv−00962
                                                     Honorable Mary M. Rowland
Ford Motor Company
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 30, 2021:


        MINUTE entry before the Honorable Jeffrey Cummings: Remote video settlement
conference held on 8/320/21. The parties were unable to reach an agreement to settle this
case. All matters related to this referral having been concluded, the referral is closed and
the case is returned to the assigned District Judge. Magistrate Judge Cummings no longer
assigned to the case. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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